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1    JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
2    Matthew C. Bockmon, Bar #161566
     Assistant Federal Defender
3    801 I Street, 3rd. Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     MANDA LYNN WENTZLOFF
6
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               CASE NO. CR-S-11-476 LKK
                                           )
12                     Plaintiff,          )               STIPULATION AND ORDER TO CONTINUE
                                           )               STATUS CONFERENCE AND TO EXCLUDE
13         v.                              )               TIME PURSUANT TO THE SPEEDY TRIAL
                                           )               ACT
14                                         )
     MANDA LYNN WENTZLOFF,                 )               Date: February 26, 2013
15                                         )               Time: 9:15 a.m.
                       Defendant.          )               Judge: Lawrence K. Karlton
16   _____________________________________ )
17          It is hereby stipulated and agreed to between the United States of America through JARED DOLAN,
18   Assistant U.S. Attorney, and defendant, MANDA LYNN WENTZLOFF, by and through her counsel,
19   MATTHEW C. BOCKMON, Assistant Federal Defender, that the status conference set for Tuesday, January
20   15, 2013, be continued to Tuesday, February 26, 2013, at 9:15 a.m.
21          The reason for this continuance is because additional time is needed for defense preparation and for
22   meetings between the parties with the goal being to resolve the case by way of a disposition.
23          It is further stipulated that the time period from the date of this stipulation, January 11, 2013, through
24   and including the date of the new status conference hearing, February 26, 2013, shall be excluded under the
25   Speedy Trial Act (18 U.S.C. §3161(h)(7)(A) &(B)(iv) and Local Code T4, due to the need to provide defense
26   counsel with the reasonable time to prepare, and that the ends of justice to be served by granting the
27   continuance outweigh the best interests of the public and the defendant in a speedy trial.
28
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1    Dated: January 11, 2013
2                                                                  Respectfully submitted,
3                                                                  JOSEPH SCHLESINGER
                                                                   Acting Federal Defender
4
                                                                   /s/ Matthew C. Bockmon
5                                                                  MATTHEW C. BOCKMON
                                                                   Assistant Federal Defender
6                                                                  Attorney for Defendant
                                                                   MANDA LYNN WENTZLOFF
7
     Dated: January 11, 2013                                       BENJAMIN B. WAGNER
8                                                                  United States Attorney
9                                                                   /s/ Matthew C. Bockmon for
                                                                   JARED DOLAN
10                                                                 Assistant U.S. Attorney
                                                                   Attorney for Plaintiff
11
12                                                     ORDER
13          Based on the reasons set forth in the stipulation of the parties filed on January 11, 2013, and good cause
14   appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY ORDERED
15   that the status conference currently scheduled for Tuesday, January 15, 2013, be vacated and that the case be
16   set for Tuesday, February 26, 2013, at 9:15 a.m. The Court finds that the ends of justice served by granting
17   such a continuance outweigh the best interests of the public and the defendant in a speedy trial. Accordingly,
18   IT IS HEREBY ORDERED that, for the reasons stated in the parties’ January 11, 2013, stipulation, the time
19   within which the trial of this matter must be commenced under the Speedy Trial Act is excluded during the
20   time period from the date of this stipulation, January 11, 2013, through and including February 26, 2013,
21   pursuant to 18 U.S.C. §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.
22
23   DATED: January 11, 2013
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28                                                          2
